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                      * Subject to Protective Order *          AIGS.000216
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                      * Subject to Protective Order *          AIGS.000217
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                      * Subject to Protective Order *          AIGS.000218
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                      * Subject to Protective Order *          AIGS.000224
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                      * Subject to Protective Order *          AIGS.000225
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                      * Subject to Protective Order *          AIGS.000226
